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 9                                 UNITED STATES DISTRICT COURT
10                               NORTHERN DISTRICT OF CALIFORNIA
11                                           SAN JOSE DIVISION
12   TRACY WASHINGTON,                             ) CASE NO. 21-02340-BLF
                                                   )
13                             Plaintiff,          )
                                                   ) STIPULATION OF DISMISSAL WITH
14      v.                                         ) PREJUDICE PURSUANT TO SETTLEMENT
                                                   )
15   UNITED STATES OF AMERICA,                     )
                                                   )
16                              Defendant.         )
                                                   )
17                                                 )
                                                   )
18

19
             The parties to this action hereby stipulate and agree that the above-referenced action is
20
     voluntarily dismissed with prejudice pursuant to Federal Rules of Civil Procedure, Rule 41(a),
21
     and pursuant to the Settlement Agreement dated November 23, 2021 in this action.
22

23 DATED: January 3, 2022                      /s/ Marc A. Karlin___________________
                                               Marc A. Karlin
24                                             Karlin & Karlin
                                               Plaintiff’s Attorney
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     STIPULATION OF DISMISSAL WITH PREJUDICE PURSUANT TO SETTLEMENT
27 Case No. 21-02340-BLF

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 1                                        STEPHANIE M. HINDS
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     DATED: January 3, 2022               By: /s/ James A. Scharf______________
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                                          James A. Scharf
 4                                        Assistant United States Attorney
                                          Attorney for Defendant USA
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     STIPULATION OF DISMISSAL WITH PREJUDICE PURSUANT TO SETTLEMENT
27 Case No. 21-02340-BLF

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